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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
__________________________________________
C.D., by and through her PARENTS and NEXT     )
FRIENDS, M.D. and P.D. and M.D. and P.D. for )
themselves,                                   )
                      Plaintiffs,             )
                                              )
    v.                                        )     Civ. Action No. 15-13617-FDS
                                              )
NATICK PUBLIC SCHOOL DISTRICT,                )
and BUREAU OF SPECIAL EDUCATION )
APPEALS,                                      )
       Defendants.                            )
__________________________________________)

               BUREAU OF SPECIAL EDUCATION APPEALS’ ANSWER

       The state defendant, Bureau of Special Education Appeals (“Bureau”), states as its

answer to the Complaint filed by C.D., by and through her parents and next friends M.D. and

P.D. and for themselves (“Plaintiffs”) that, in accordance with 20 U.S.C. §1415(i)(2)(C), the

Bureau will submit a certified copy of the record of the proceedings before it (“Administrative

Record”). The Bureau provides this additional answer noting that any allegations not

specifically addressed are denied.

                                     PRELIMINARY STATEMENT

1.     Paragraph 1 of the Complaint characterizes the nature of Plaintiffs’ complaint and states

       conclusions of law to which no response is required.

2.     Paragraph 2 of the Complaint characterizes the nature of Plaintiffs’ complaint and states

       conclusions of law to which no response is required.

3.     Paragraph 3 of the Complaint describes facts addressed by the Bureau’s decision dated

       July 28, 2015. In accordance with 20 U.S.C. § 1415(i)(2)(C), the Bureau will answer


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      those allegations by submitting a certified copy of the Administrative Record.

4.    Paragraph 4 of the Complaint states a conclusion of law to which no response is required.

      To the extent a response is required, the Bureau states that in accordance with 20 U.S.C.

      § 1415(i)(2)(C), the Bureau will answer those allegations by submitting a certified copy

      of the Administrative Record.

5.    The Bureau admits the allegations in paragraph 5 of the Complaint.

6.    The allegations in paragraph 6 of the Complaint characterize Plaintiffs’ legal claims and

      state conclusions of law to which no response is required.

7.    The allegations in paragraph 7 of the Complaint characterize Plaintiffs’ legal claims and

      state conclusions of law to which no response is required.

8.    The allegations in paragraph 8 of the Complaint characterize Plaintiffs’ legal claims and

      state conclusions of law to which no response is required. To the extent a response is

      required, the Bureau denies the allegations.

                                   JURISDICTION AND VENUE

9.    The allegations in paragraph 9 of the Complaint state conclusions of law to which no

      response is required.

10.   The allegations in paragraph 10 of the Complaint state conclusions of law to which no

      response is required.

                                            THE PARTIES

11.   The Bureau admits that C.D. is a student with a disability, as set forth in the Bureau’s

      decision and that C.D. and was at all times relevant to this action a resident of Natick,

      Middlesex County, Massachusetts. The remaining allegations in paragraph 11 of the


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       Complaint state conclusions of law to which no response is required.

12.    The Bureau admits the allegations in paragraph 12 of the Complaint.

13.    The Bureau admits that Natick is a public corporation with the capacity to be sued under

       the laws of the Commonwealth of Massachusetts. The Bureau is without knowledge or

       information sufficient to form a belief as to the remaining allegations in paragraph 13 of

       the Complaint.

14.    The Bureau admits the allegations in paragraph 14 of the Complaint.

15.    The Bureau admits that it is a division of the Division of Administrative Law Appeals, a

       state agency within the Commonwealth of Massachusetts, with a usual place of business

       at One Congress Street, Boston, Suffolk County, Massachusetts. The Bureau denies the

       remaining allegations in paragraph 15 of the Complaint.

16.    The Bureau admits the allegations in paragraph 16 of the Complaint.

                                     FACTUAL ALLEGATIONS

17-179. In response to the allegations in paragraphs 17-179 of the Complaint, the Bureau states

          that, pursuant to 20 U.S.C. § 1415(i)(2)(C), it will answer those allegations by

          submitting a certified copy of the Administrative Record. To the extent these

          allegations are inconsistent with the Bureau’s decisions, the Bureau denies them.

                                       PRAYERS FOR RELIEF

180-189. The allegations in paragraph 180-189 of the Complaint describe the relief sought by

          Plaintiffs and does not require a response. To the extent a response is required, the

          Bureau denies them.




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                          AFFIRMATIVE DEFENSES

                                 FIRST DEFENSE

The Complaint fails to state, in whole or in part, a claim upon which relief may be

granted.

                               SECOND DEFENSE

Plaintiff has waived any claim not now asserted in the Complaint.

                                THIRD DEFENSE

The Bureau hereby gives notice that it intends to rely on such other and further defenses

as become available or apparent during the proceedings in this case and it hereby

preserves the right to assert such defenses.




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WHEREFORE, the Bureau respectfully requests that this Court:

1.     Dismiss Plaintiffs’ Complaint with prejudice; and

2.     Enter final judgment affirming the Bureau’s decision in its entirety; and

3.     Grant the Bureau such other and further relief as this Court may determine just and

       proper.

                                             Respectfully submitted,

                                             BUREAU OF SPECIAL EDUCATION APPEALS,

                                             By its attorney,
                                             MAURA HEALEY
                                             ATTORNEY GENERAL

                                              /s/ Iraida J. Álvarez
                                             Iraida J. Álvarez, BBO# 647521
                                             Assistant Attorney General
                                             Office of the Attorney General
                                             One Ashburton Place, 20th Floor
                                             Boston, MA 02108-1698
                                             (617) 963-2037
                                             Iraida.Alvarez@state.ma.us
Dated: December 2, 2015




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                                 CERTIFICATE OF SERVICE

        I hereby certify that the above document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(“NEF),” and paper copies will be sent to those indicated as non-registered participants on
December 2, 2015.

                                                              /s/ Iraida J. Álvarez_____________
                                                              Iraida J. Álvarez




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